Case 8:01-cr-00445-JSM-MAP Document 397 Filed 06/25/15 Page 1 of 2 PageID 924




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                       CASE NO: 8:01-cr-445-T-30MAP

ERIC FLOWERS


 Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under
               18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

       Before the Court is the Defendant’s Unopposed Motion for Prison-Term Reduction

under 18 U.S.C. § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline

amendment, see USSG §1B1.10(d) (2014) (Doc.# 395). The United States does not oppose

a reduction. The parties agree that he is eligible for a reduction because Amendment 782

reduces the guideline range applicable to him, see USSG §1B1.10(a)(1). The Court agrees

that he is eligible for a reduction and adopts the amended guideline calculations indicated

in the motion.

       Having reviewed the facts in both the original presentence investigation report and

the February 13, 2015 memorandum from the United States Probation Office in light of

the factors in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of

any danger posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court

finds that a reduction of 30 months as to Count One is warranted. Consistent with USSG

§1B1.10(e)(1), and in light of the practical difficulties of a possible release date on Sunday,

November 1, 2015, the effective date of this order is November 2, 2015.

       Therefore:

       (1)    The Court grants the defendant’s motion, Doc. #395.
Case 8:01-cr-00445-JSM-MAP Document 397 Filed 06/25/15 Page 2 of 2 PageID 925




      (2)    The Court reduces the defendant’s prison term from 151 to 121 months or

             time served, whichever is greater as to Count One, to run consecutive to the

             previously imposed sentence on Count Three.

      (3)    The effective date of this order is November 2, 2015.

      DONE and ORDERED in Chambers, Tampa, Florida on June 25, 2015.




Copies furnished to:

Counsel of Record
Magistrate Judge
United States Marshals Service
United States Probation Office
United States Pretrial Services
